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                     Exhibit 1
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          DECLARATION OF LIEUTENANT GENERAL KEVIN B. SCHNEIDER

I, Kevin B. Schneider, hereby state and declare as follows:

1.      I am a Lieutenant General 1 in the United States Air Force currently assigned as the

Director of Staff for the Headquarters of the Air Force, located in the Pentagon, Arlington,

Virginia. I have served in this position since August 2021.

2.      I am generally aware of the various lawsuits - and kept apprised of new lawsuits - filed

throughout the United States concerning the Coronavirus Disease 2019 (COVID-19) vaccination

mandates issued by the Secretary of Defense and the Secretary of the Air Force, that require all

Department of the Air Force Service members on active duty, in the Air Force Reserve, and Air

National Guard, to be fully vaccinated against COVID-19. I make this declaration in support of

the Government to address the impact COVID-19 has had within the Department of the Air

Force,2 and the impact that granting thousands of religious accommodations would have on the

mission, and the harm posed by a preliminary injunction exempting a single Plaintiff from being

vaccinated - let alone an injunction covering thousands of Service members. The statements

made in this declaration are based upon my personal knowledge, my military judgment and

experience, and upon information that has been provided to me in my official duties.

                                 Air Force Background and Experience

3.      I am a 1988 graduate of the U.S. Air Force Academy and have continuously served in the

U.S. Air Force for nearly 34 years. My experience includes multiple assignments in senior

leadership and operational positions. As Commander of the 380th Air Expeditionary Wing, I led



1 The rank of"Lieutenant General" is the second highest military rank in the Department of the Air Force, and is
sometimes referred to as a "Three-Star General." The term "general" is also frequently referred to as "general
officers." General officers include the ranks of Brigadier General, Major General, Lieutenant General, and General.
General Officers comprise the most senior levels of uniformed leadership in the Department of the Air Force.
2 The Department of the Air Force is comprised of two distinct military services: the U.S. Air Force and the U.S.
Space Force.
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one of the most diverse combat wings in the U.S. Air Force and conducted combat operations to

include close air support and strike missions as well as intelligence, surveillance, reconnaissance,

and aerial refueling. In my duties as Assistant Deputy Commander of U.S. Air Forces Central

Command and Vice Commander of the 9th Air Expeditionary Task Force, I was responsible for

the command and control of all air operations in a 20-nation area of responsibility covering

Central and Southwest Asia. While serving as the Chief of Staff for the Headquarters of the

Pacific Air Force, I coordinated a command staff directing 46,000 personnel across sixteen time

zones. As Chief of Staff for the U.S. Indo-Pacific Command, I coordinated a joint force staff

providing combat capabilities to the Secretary of Defense across 52% of the globe. Most

recently, as Commander of U.S. Forces Japan and the 5th Air Force, I was responsible for

overseeing joint and bilateral exercises and improving combat readiness for 54,000 military and

Department of Defense civilian personnel. I am also a command pilot with more than 4,000

flying hours in the F-16C Fighting Falcon, F-15E Strike Eagle, T-38C Talon, and UH-lN

Iroquois; which includes 530 combat flying hours, serving in Operations SOUTHERN WATCH,

ENDURING FREEDOM, IRAQI FREEDOM, and INHERENT RESOLVE.

4.     I currently serve as the Director of Staff for the Air Force Headquarters. In that role, I

assist the Secretary of the Air Force in his statutory duties and responsibilities as they pertain to

the U.S. Air Force. Under 10 U.S.C. § 9032, those duties include "prepar[ing] for such

employment of the Air Force" and "recruiting, organizing, supplying, equipping ... , training,

servicing, mobilizing, demobilizing, administering, and maintaining of the Air Force."

Additionally, I synchronize and integrate policy, plans, positions, procedures, and cross

functional issues for the headquarters staff. In that role, I work with my counterpart in the U.S.

Space Force, Lieutenant General Nina M. Armagno, and am aware of the overall impact of




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COVID-19 on both the U.S. Air Force and U.S. Space Force. Specifically, as related to COVID-

19, I am responsible for providing oversight to the Air Force COVID-19 Team, which has

implemented the Secretary of Air Force vaccination mandate across both services within the

Department of the Air Force.

                                     Preliminary Statement

5.     I have reviewed the Declaration of Admiral Daryl Caudle, Commander, United States

Fleet Forces Command, filed in US. Navy SEALs 1-26 v. Austin et. al., N.D. TX, Case 4:21-CV-

01236-O. I agree with his assessment regarding the importance of having a fully vaccinated

Force to blunt the impact of COVID-19 and the significant harm that would come from allowing

a subset of that Force to remain unvaccinated. Unvaccinated or partially vaccinated Service

members are at a higher risk of contracting COVID-19 and substantially more likely to develop

severe symptoms resulting in hospitalization or death. Not only does this increase risks to the

health and safety of vaccinated Service members, and the communities in which they live, it

adversely impacts our ability to execute the mission. It is my professional military judgment that

vaccination against COVID-19 is the most effective way to combat the disease and is necessary

to ensure we maintain a credible fighting force able to deter our adversaries, protect our nation,

and - if necessary - prosecute our wars and other military operations.

6.     Not only does the Department of the Air Force have a compelling interest in the health

and mission readiness of the U.S. Air Force and U.S. Space Force as a whole, we have a

compelling interest to ensure the health and mission readiness of each and every Service

member. This is because we cannot ensure the collective health or readiness of the Force unless

we ensure the health and readiness of each member who composes that Force. In my opinion, if

a large number of Department of the Air Force Service members were to be exempt from the




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COVID-19 vaccine mandate, it would pose a significant and unprecedented risk to military

readiness and our ability to defend the nation.

7.     Observing the current state of global affairs verifies that we are operating in a volatile,

uncertain, and complex environment. In this environment, the need for constant vigilance and

defense preparation cannot be overstated. This requires our Service members to be in a constant

state ofreadiness. Recently, our nation responded to the Russian invasion of Ukraine by rapidly

deploying aircraft, equipment, and thousands of Service members, many within only 24 to 48

hours of notification. Currently, there are hundreds of aircraft and tens of thousands of

Department of the Air Force personnel deployed in support of operations furthering our nation's

interests throughout the world. Those personnel must be medically ready to deter conflict and

aggressively execute the mission. In my opinion, it would be a failure ofleadership to allow

Service members who are not fully vaccinated against COVID-19 to deploy without regard to the

risk they pose to themselves, others, and the mission. For this reason, such decisions, and the

appropriate balance of risks associated with them, should be left to the judgment of the military

chain of command.

8.     A preliminary injunction that prevents the Department of the Air Force from enforcing

the COVID-19 vaccination mandate on even a single plaintiff would result in that plaintiff not

being medically ready to support military operations to defend the nation. Similarly, an

injunction expanded to apply to 10,000 or more Service members seeking a vaccination

exemption would amplify this outcome across the Force, creating significant and irreparable

harm to good order and discipline, force health protection, and military readiness; seriously

endangering the Department of the Air Force's ability to decisively execute its mission.




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                          Specific Functions of the Department of the Air Force

9.       The U.S. Air Force and U.S. Space Force comprise the Nation's principal Air and Space

Forces. Their mission is to "provide the Nation with global vigilance, global reach, and global

power in the form of in-place, forward-based, and expeditionary forces possessing the capacity

to deter aggression and violence by state, non-state, and individual actors to prevent conflict,

and, should deterrence fail, prosecute the full range of military operations in support of U.S.

national interests. " 3

10.      The Department of the Air Force is tasked to "organize, train, equip, and provide air,

space, and cyberspace forces for the conduct of prompt and sustained combat operations,

military engagement, and security cooperation in defense of the Nation, and to support the other

military services and joint forces." 4 These forces include pilots, aircraft maintainers, aircrew,

chaplains, security forces, medical providers, personnel specialists, and more. Providing fully

trained and combat ready Service members to Combatant Commanders 5 is vital to ensuring the

security of our nation and operational success. Whether tasked to stand as ever-ready sentinels

of freedom at outposts throughout the world, provide humanitarian aid, or engage in armed

conflict with our adversaries, our Service members must be medically and physically ready to

accomplish the mission under inhospitable conditions and in hostile environments.



3 Department of Defense Directive (DoDD) 5100.01, Functions of the Department ofDefense and Its Major
Components, Change I, Sep. 17, 2020, Encl. 6, ,r 6.a.
4 Ibid.
5 The military services provide forces to combatant commanders who then exercise authority, direction and control
over the commands and forces assigned to them and employ those forces to accomplish missions assigned to the
combatant commander within their area of operation. Department of Defense Directive (DoDD) 5100.0 I, Change I,
09/ 17/20, Encl. 5, ,r I .a through d. The operational chain of command runs from the President of the United States
to the Secretary of Defense to the Combatant Commanders. There are 11 combatant commands, each of which
provides command and control of military forces, regardless of branch of service, in peace and war. Some
combatant commands are geographic, such as Central Command (CENTCOM), whose area of responsibility
includes the Middle East. Others are functional, such as Special Operations Command (SOCOM), which utilizes the
special operations units within the services to carry out special operations world-wide.




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11.      The U.S. Air Force protects U.S. interests and defends the nation through its five core

missions: (1) Air and Space Superiority; (2) Intelligence, Surveillance, Reconnaissance (ISR);

(3) Rapid Global Mobility; (4) Global Strike; and (5) Command and Control. 6 Air and space

superiority are crucial to ensuring the safety of our Service members. It is axiomatic that

"whoever controls the air generally controls the surface." 7 Air and Space Superiority: the U.S.

Air Force brings the ability and capability to conduct offensive and defensive operations to gain

and maintain air superiority in support of U.S. and allied forces in the domains ofland, sea, air,

and space. This includes the ability to engage in offensive operations within our adversaries'

airspace, as well as defensive operations to protect our own airspace. ISR: the U.S. Air Force

provides the ability to gather real-time intelligence for warfighters and policymakers through

manned and unmanned aircraft, space, and other technology. Rapid Global Mobility: the U.S.

Air Force rapidly moves personnel and equipment around the world, enabling operational

success. This includes providing aerial refueling to truly make global deployment possible and

aeromedical transport to ensure the prompt treatment of injured troops. Global Strike: through

bombers, fighters, and missiles, the U.S. Air Force provides the ability to attack targets,

worldwide, in support of U.S. interests and in the defense of our nation. In addition to

conventional ordnance, the U.S. Air Force mission includes two of the three legs of the nuclear

deterrence triad - nuclear-capable bombers, and intercontinental ballistic missiles (ICBMs).

Command and Control: finally, through various means, including air, space, and cyberspace

platforms, the U.S. Air Force provides and defends the systems necessary to ensure a clear

operational picture and means of communicating with our forces throughout the world.




6 Congressional Research Service, Defense Primer: The United States Air Force, Oct. 26, 2021, available at
https:// crsreports.congress.gov.
7 Col Philip S. Meilinger, Ten Propositions Regarding Airpower, 1995.




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12.      Similarly, the U.S. Space Force protects U.S. interests and defends the nation through its

missions: (1) Space Security; (2) Combat Power Projection; (3) Space Mobility and Logistics;

(4) Information Mobility; and (5) Space Domain Awareness. 8 Space Security: controlling space

has become increasingly important to ensure successful military operations and the U.S. Space

Force protects U.S. military, civilian, and commercial space assets from danger or hostile

actions. Combat Power Projection: the U.S. Space Force ensures U.S. and allied forces are able

to operate freely in space by employing offensive and defensive capabilities designed to reduce

the effectiveness of threats to space capabilities. Space Mobility and Logistics: the ability to

sustain our space assets is crucial to sustaining continued space technology and operational

advantages. The U.S. Space Force ensures the continued ability to launch and recover space

assets vital to the protection of our nation. Information Mobility: U.S. Space Force technology

allows for the rapid collection and dissemination of information globally in support of military

operations. This capability ensures, communications, ISR, missile warning, and nuclear

detonation detection, and other important capabilities. Space Domain Awareness: finally, the

U.S. Space Force effectively monitors space, and objects in the space domain, analyzing

potential impacts to military operations, and the safety and security of U.S. interests.

13.      As of March 14, 2022, the Department of the Air Force had approximately 501,000

uniformed Service members- including 326,000 active duty, 68,000 Reserve, and 107,000 Air

National Guard personnel- and 5,800 aircraft to support the mission. Regardless of the career

field, rank, or duty status, every Service member plays an important role in accomplishing the

mission and must be ready to perform their duties when called upon anytime, anywhere.




8Space Capstone Publications, Space Power: Doctrine for Space Forces, June 2020, available at
https://www.spaceforce.mil/Portals/1/Space%20Capstone%20Publication_ 10%20Aug%202020.pdf.


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                      Mandatory Vaccination Requirements for COVID-19

14.     On August 24, 2021, the Secretary of Defense directed the Secretaries of the Military

Departments to immediately begin full vaccination of all members of the Armed Forces,

including Service members on active duty or in the Ready Reserve, including the National

Guard. The Secretary of Defense found that "[t]o defend the nation, we need a healthy and ready

force" and "[a]fter careful consultation with medical experts and military leadership, and with

the support of the President ... vaccination against the coronavirus disease 2019 (COVID-19) is

necessary to protect the Force and defend the American people."9 The Secretary of the Air Force

directed implementation via Department-wide memorandum on September 3, 2021 . The

memorandum applies to both services within the Department of the Air Force, the U.S. Air Force

and the U.S. Space Force. It requires all active duty Service members, unless exempted, to be

fully vaccinated with an FDA-approved COVID-19 vaccine 10 by November 2, 2021. It further

requires, unless exempted, all Service members in the Ready Reserve, to include the Air

National Guard, to be fully vaccinated by December 2, 2021 . Like other orders in the United

States military, the COVID-19 vaccination mandate constitutes a lawful order under Article 92

of the Uniform Code of Military Justice and failure to comply may result in administrative

and/or disciplinary action. On the same date, the Department of the Air Force also issued

implementation guidance, outlining the policy, administration and reporting requirements, and

general guidance related to logistics and distribution of vaccines.




9 Secretary of Defense memorandum, Mandatory Coronavirus Disease 2019 Vaccination ofDepartment ofDefense

Service Members (August 24, 2021).
10 Although only FDA-approved vaccines are mandated by the order, Service members may voluntarily receive a
vaccine that has obtained an FDA Emergency Use Authority or is included on the World Health Organization's
Emergency Use Listing.


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15.      On December 7, 2021, the Secretary of the Air Force issued supplemental guidance that

reiterates the requirement to be vaccinated against COVID-19 unless the Service member has an

approved or pending medical, religious, or administrative exemption. It also implements and

outlines options for Service members if they are notified that their exemption request is denied,

providing opportunities for Service members to request a voluntary separation or retirement, if

eligible, in lieu of vaccination. If approved in accordance with the applicable separation or

retirement regulations, and they meet other conditions (e.g., separating within established

timelines), they would be temporarily exempt from the vaccination requirement for the brief

period of their remaining service. The guidance provides options that are adapted to active duty,

various types of Reserve, and Air National Guard situations.

16.     The COVID-19 vaccination requirement is not unique. The Department of Defense has a

well-established "Individual Medical Readiness" requirement for all Service members - whether

on active duty or in the Reserves - to ensure each Service member is physically and medically fit

to perform their duties and to mobilize in support of our national defense. Among other things,

Service members are required to undergo required physical health assessments and dental

examinations to ensure the member is medically ready for operational needs. 11 Included in that

requirement are a number of vaccines that all Service members are required to receive, including

communicable diseases - such as influenza, hepatitis A & B, measles, mumps, and rubella - and

non-communicable diseases - such as tetanus. These required based on the professional

judgment of Department of Defense military and civilian leadership, that the vaccinations are



11 While not intuitive, dental care is an important component of operational readiness. A deployed Service member

with a dental emergency (e.g., abscessed or cracked tooth) may be unable to perform their duties - limiting the
unit's ability to complete its mission- and may require a medical evacuation to ensure they are able to receive the
care they need. This can be a drain on operational capabilities as resources are diverted from their original tasking
to evacuate the member. Annual dental examinations and follow-up care is a DoD requirement to reduce the
operational risks.


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necessary to medically protect our Service members and to maintain a combat ready force.

Diseases can be a serious threat to the ability of our Service members to perform their duties, and

especially dangerous for Service members who are mobilized in support of combat operations.

Vaccination is the most effective way to minimize the risk of disease in Service members which

allows us to maximize our operational capabilities and mission effectiveness.

17.     Service members who fail to meet medical readiness requirements are typically non-

deployable. While Service members may go through brief periods where they are non-

deployable, all members are expected to return to and maintain a deployable status. Reserve

Component Service members are required to maintain the same physical and medical readiness

as active duty Service members. The purpose of the Reserve Component is to provide fully

trained and qualified personnel to support the military mission as necessary. In fact, medical

readiness is a long-standing pre-requisite for active participation in the Air Force Reserve and

Air National Guard. 12

18.     It is my professional judgment that Service members who are not fully vaccinated against

COVID-19 pose an unacceptable risk to military operations while in garrison 13 or at deployed

locations in the field. Although Combatant Commands can waive medical readiness




12 See Air Force Manual (AFMAN) 36-2136, Reserve Personnel Participation, Sept. 6, 2019, para. 1.7.1-1.7.2 ("All

reservists have to meet the medical standards in AFI 48-123 and the associated Medical Standards Directory (MSD)
to be considered medically qualified to fully participate in the Air Force Reserve .. .. Note: Air Force Reserve
commanders may initiate involuntary transfer to the Individual Ready Reserve (IRR) for failing to meet medical
standards... Reservists with any expired Individual Medical Readiness requirement as defined in AFI 10-250 will
not participate in any point-gaining activities other than a military medical/dental evaluation or examination
consistent with DoDI 1215.06."); Air National Guard Instruction (ANGI) 36-2001, Management of Training and
Operational Support within the Air National Guard, Apr. 30, 2019, para. 2.1 ("Members must meet the standards as
outlined in DoDI 1215.06 [requiring medical readiness] when taking part in a pay or points gaining activity.") See
also Department of the Air Force Instruction (DAFI) 36-2110, Total Force Assignments, Aug 2, 2021 ("Members
with any expired Individual Medical Readiness requirements in accordance with DAFMAN 48-123 are subject to
involuntary reassignment to a non-participating status").
13 "In garrison" refers to Service members at their assigned duty location (e.g., base) and not currently deployed.
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requirements 14 to allow a Service member to deploy, those decisions are informed by risk

assessments on a case-by-case basis. 15 Medical readiness is similarly important while in

garrison, to ensure each Service member is able to perform their duties in support of the mission.

In garrison, .illness can delay or prevent a Service member from being effectively trained or

prepared to perform their duties if tasked to deploy. Vaccination is the most effective way of

decreasing the risk that a member will unexpectedly be taken out of the fight or otherwise be

prevented from performing their duties.

19.     Policies and procedures were established, and implemented, to allow Service members

the opportunity to request an exemption from the COVID-1 9 vaccination mandate based on

medical or administrative criteria, including religious objections. All Department of the Air

Force Service members who remain unvaccinated are subject to limitations on their service.

Being unvaccinated impacts readiness for deployment, travel, and certain assignments or

trainings. Service members with an approved religious accommodation are not treated

differently than Service members with pending or approved exemptions in other categories.

20.      Service members may request an administrative exemption through a religious

accommodation based on their sincerely held beliefs. The Department of the Air Force does not

have a blanket policy of denying religious accommodation requests. Each religious

accommodation is individually considered by the Service member's chain of command to

ascertain, among other things, whether the circumstances may lessen the compelling government

interest in the health and medical readiness of every Service member or whether the situation


14 The waiving of a medical readiness requirement would be required for Service members with an approved
exemption to deploy without meeting one or more medical requirements for that deployment.
15 Some unvaccinated Service members deployed within a few months of the vaccine mandate, before there was a
sufficient pool of vaccinated members to institute a vaccination requirement to that deployed location to reduce the
operational risks. Although the mission continues, it does so at a heightened risk to success and typically with less
effective mitigation measures that reduce the operational effectiveness of the member and/or units.




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lends itself to less restrictive alternatives to vaccination that are just as effective in furthering

those interests. 16 If a request is initially denied, the Service member may appeal that decision to

the Air Force Surgeon General. If the appeal is denied, that Service member must comply with

the requirements of the COVID-19 vaccination mandate.

21.     As previously noted, the Department of the Air Force also has procedures for processing

medical exemptions. Requests for medical exemptions are adjudicated by professional military

medical providers based on the medical condition(s) of the individual. Medical exemptions

primarily exist to support the compelling government interest in protecting the health of the

Force where vaccination is contraindicated for that Service member. Approved medical

exemptions are temporary and the Service member is expected to receive the vaccination when

the temporary exemption expires.

22.     Likewise, the Department of the Air Force allows administrative exemptions to account

for individual circumstances, primarily, individuals on terminal leave (that is, on leave

immediately prior to separating or retiring and not expected to return to duty), individuals

approved to retire or separate within a short period of time, and individuals participating in a

vaccine clinical trial. These exemptions reflect how the military's compelling interests intersect.

For example, providing an exemption for Service members to participate in vaccine clinical trials

would be in the interest of the military because it provides the opportunity for new and better

vaccines in the future. With that said, to the best of my knowledge, I am not aware of any

Service member in the Department of the Air Force who is currently exempt from the COVID-

19 vaccine because they are participating in a vaccine clinical trial. Additionally, it is the



16 I am aware that some courts have expressed skepticism that the religious accommodation process is

individualized. The low number of approvals reflects the difficulty in identifying situations where a Service
member's beliefs can be accommodated without undermining Force Health Protection and Readiness; both are a
Department of the Air Force-wide and individual interest.



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professional judgment of the Department of the Air Force, military and civilian leadership, that

its interest in military readiness and mission accomplishment is not served by requiring members

to be vaccinated when they are not returning to duty (i.e., terminal leave) or are leaving military

service within a short timeframe (i.e., retiring or separating). Since many of those with

administrative exemptions are in the process ofleaving the Air Force, I expect the number of

administrative exemptions to continue declining.

23.    Good order and discipline, which includes obeying orders, is a foundational principle in

the U.S. military. Absent a pending or approved exemption, Service members are expected to

promptly comply with the lawful order to vaccinate. When a Service member willfully refuses

to comply with a lawful order it erodes good order and discipline. The military cannot properly

function when orders are disregarded because of personal objections. Senior Department of the

Air Force officials are reviewing the religious accommodation requests and taking into account

any religious concerns in determining whether the member should be ordered to receive the

vaccine. If the senior officials determine the member still needs to vaccinate (i.e., religious

accommodation request disapproved), ignoring the order is not an acceptable option and would

likely result in the Service member being subject to formal disciplinary proceedings, including

discharge proceedings.

24.    Military operations require complete trust in the integrity of units and individual Service

members to swiftly and unwaveringly execute lawful orders. For many military operations,

obedience is literally a matter oflife or death. Our ability to secure our nation's interests and to




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protect our people depends on unhesitating compliance with orders. The only exception is an

order that is "patently illegal." 17

25.      The judgment of the Military Services is that the order to receive the COVID-19 vaccine

is a lawful order and it is "a key Force Protection and readiness issue." 18 Vaccination is the most

effective and readily available tool to protect the Force and to ensure military personnel are fully

mission capable and ready to execute operations. The more unvaccinated members in the Force,

the greater the threat to readiness and successful mission accomplishment. Therefore, ensuring

Service members are vaccinated is a national security issue and the amount of risk acceptable to

our national security should be left to the military chain of command, and the Legislative and

Executive branches.

                         COVID-19 Threat to the Department of the Air Force

26.      Since the beginning of the pandemic, COVID-19 has unquestionably threatened the

health and safety of the Armed Forces - as a whole and individually - and has diminished our

abilities to perform our mission and effectively defend the nation. As of March 14, 2022, a total

of 91,984 Department of the Air Force Service members had contracted COVID-19 during the

pandemic, resulting in 229 hospitalizations, of which 14 died. Of those who died, 12 (86%) were

completely unvaccinated.

27.      Service members must often work in close physical proximity. The configuration of

aircraft often requires Service members to sit and work in cramped operating conditions without

the possibility of socially distancing. Likewise, Service members working on the ground are


17 Manual for Courts-Martial (MCM), Part IV, ,i 16.c.(2)(a)(i), 2019 (For a violation of Article 90, Willfully

disobeying superior commissioned officer, "an order requiring the performance of a military duty or act may be
inferred to be lawful, and it is disobeyed at the peril of the subordinate. This inference does not apply to a patently
illegal order, such as one that directs the commission of a crime"). See also id. at ,i 18.c(l)(c) (referencing ,i 16.c for
a violation of Article 92, Failure to obey order or regulation).
18 Memorandum for the Joint Force from General Mark A. Milley, Chairman of the Joint Chiefs of Staff, CM-0141-
21 (Aug. 9, 2021).



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often unable to socially distance due to the nature of military operations. Additionally, most

forward-deployed locations do not have extensive medical facilities like those we are

accustomed to in garrison. An outbreak of COVID-19 in Service members deployed to the field,

where everyone is in close contact and living within the same area for months at a time, could

easily overwhelm local medical capacity, taking away from the ability to effectively treat front-

line battle injuries and other illnesses. Furthermore, such an outbreak could severely diminish

operational capabilities, as deployed locations are often minimally manned. If a Service member

were to get sick - let alone contract long-COVID, get hospitalized, or die - that would directly

impact our ability to perform the mission. For example, an outbreak could limit the number of

available pilots and aircrew to directly accomplish operations, or the number of maintainers and

weapons loaders to ensyre aircraft are serviced and fully armed in support of operations.

COVID-19 is a threat across all career fields and operational needs, an infection removing a

Service member from the fight could leave little redundancy or backup to perform that Service

member's duties. Under these conditions, an outbreak impacting multiple Service members

could potentially risk the mission altogether. While illness is always a hazard in a deployed

environment, COVID-19 has already had a real impact on military readiness and operations and

we have a duty to mitigate the impact and ongoing risk to the greatest extent possible.

                    Harm to Readiness if Preliminary lniunction is Issued

28.    A preliminary injunction preventing the Department of the Air Force from enforcing the

vaccination mandate against a Plaintiff, and from determining the assignment of Service

members based on their unvaccinated status, removes control of health and readiness from the

Services and places it under the control of the judiciary. Every individual plaintiff judicially-

exempted from being fully vaccinated against COVID-19 undermines the Department of the Air




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Force's ability to support operations and defend our nation. This danger would be exponentially

greater if the Department of the Air Force was enjoined from enforcing the vaccination mandate

for large numbers of Service members, and would create an unacceptable risk to operational

readiness. The Department of the Air Force is facing an unprecedented number of religious

accommodation requests for exemption from the COVID-19 vaccination. Given the sheer

volume of religious accommodation requests, an injunction that prevents the Air Force from

enforcing the vaccination mandate, or from determining the assignment of Service members

based on their unvaccinated status, would seriously threaten our readiness. We would be

required to keep in service a large number of personnel who are non-deployable - or worse, be

forced to assign and deploy unvaccinated Service members despite an intolerable risk to military

operations. The amount of risk the Department of the Air Force should accept to the health and

readiness of the Force should be left to the professional judgment of senior military officials

based on the individualized circumstances of the requestor (e.g., career field, duties, and work

environment).

29.    Over the last two years, the Department of the Air Force has deployed unvaccinated

individuals because there was no alternative when vaccination was not available. In doing so,

our Service members were exposed to a heightened risk of illness and operations at an increased

risk of failure. Operational efficiency was also degraded and Service members were delayed in

reaching the theater of operations. Deployed Service members were exposed to and contracted

COVID-19. As a result, personnel were taken out of the fight to quarantine or isolate and assets

were unavailable for in-theater use as some members were medically evacuated to better medical

facilities. This is not a sustainable model for continued operational success, vaccination is

necessary to minimize the risk from COVID-19. Additionally, COVID-19 vaccination is




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necessary to enhance our ability to project power into certain regions. Some allied and friendly

countries require Service members to be vaccinated against the COVID-19 disease prior to

entering their country.

30.    If all religious accommodation requests were approved, or if the Department of the Air

Force was prevented from enforcing the mandate on those Service members, the Department

would be faced with an unparalleled crisis - unvaccinated fighter and bomber pilots who cannot

deploy without risking the overall success of the mission; Reservists who cannot be called to

active duty without risking the health of others. Across the Service, we would have some leaders

who are exempt from the vaccination requirement themselves but still obligated to enforce a

requirement to be medically ready that they themselves do not have to meet. In that

circumstance, the authoritative force of the vaccination mandate would be entirely undermined,

along with the fundamental principle of obedience to lawful orders and military discipline itself.

This would weaken readiness and diminish the true strength of the Force. For these reasons,

having large numbers of unvaccinated Service members poses an unacceptable risk to mission

accomplishment and to the health of the Force.

31.    An injunction that would prohibit discipline and adverse administrative action, would

also irreparably harm good order and discipline. Service members have even alleged that non-

adverse, routine personnel decisions, such as assignment or training decisions, are punishments

and should be enjoined. Deployments, assignments, and training, however, are not rights or

privileges. Rather, they are command decisions about how best to allocate personnel for national

security and mission success. Any injunction that would prohibit the Air Force from not only

enforcing the vaccination mandate but also from determining the assignment of Service members

based on their unvaccinated status would wrest control of the Force from military leaders, would




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cause immense and lasting hann to military discipline, and would create an unacceptable risk to

operational readiness.

                                            Conclusion

32.    In summary, it is my professional military judgment, and that of the Department of the

Air Force military and civilian leadership, that our mission requires a healthy, fit, and medically

ready fighting force, and that the most effective means of furthering this compelling interest is

for Service members to receive the COVID-19 vaccine. An injunction blocking the enforcement

of the mandate for a single Plaintiff, group of Plaintiffs, or class of many thousands seeking an

exemption, would severely undermine military readiness and cause irreparable harm to military

operations. Allowing unvaccinated members to serve without restriction, would significantly

increase risk to accomplishing the Air Force mission while causing substantial and lasting harm

to military order and discipline.


       Pursuant to 28 U .S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge. Executed this 23rd day of March 2022.




                                                      KEVIN B. SCHNEIDER, Lt Gen, USAF
                                                      Director of Staff




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